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                       IN THE UNITED STATES BANKRUPTCY COURT FOR THE
                                  DISTRICT OF DELAWARE

                                                           Chapter 7
      In re:
                                                           Case No. 22-10426 (MFW)
      ARMSTRONG FLOORING, INC.,
      et al.,1                                             (Jointly Administered)

                                      Debtors.
      Alfred T. Giuliano, Chapter 7 Trustee for
      the Estate of Armstrong Flooring, Inc.,

                                             Plaintiff,    Adv. No. 23-50107
      vs.

      Hong Kong Edson Trading Ltd.,

                                          Defendant.
                                          JUDGMENT BY DEFAULT

            Default was entered against Defendant, Hong Kong Edson Trading Ltd. on

  ___________________. The Plaintiff has requested entry of judgment by default and has filed a

  declaration of the amount due and stating that this Defendant is a business entity and therefore not

  an individual in the military service. Furthermore, it appears from the record that this Defendant

  is not an infant or incompetent person. Therefore, pursuant to Fed. R. Civ. P. 55(b)(1), as

  incorporated by Fed. R. Bankr. P. 7055, judgment is entered against this Defendant in favor of the

  Plaintiff as follows:
                             Principal:                                    $1,356,994.32
                             Filing Fee Costs:                                $350.00
                             Total:                                        $1,357,344.32

  ____________                                                    _________________________
  Date                                                            Clerk of the Bankruptcy Court


  1
    The Debtors in these chapter 7 cases, along with the last four digits of their respective tax identification numbers,
  are as follows: Armstrong Flooring, Inc. (3305); AFI Licensing LLC (3265); Armstrong Flooring Latin America, Inc.
  (2943); and Armstrong Flooring Canada Ltd. (N/A).

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JUDGMENT BY DEFAULT
